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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, ex rel.
VERMONT NATIONAL TELEPHONE
COMPANY,
                     Plaintiff,
                                                          No. 15-cv-728-CKK-MAU
       v.

NORTHSTAR WIRELESS, LLC, et al.,

                               Defendants.


                                             ORDER

       Upon consideration of the May 18, 2023, joint letter brief submitted by Plaintiff Vermont

National Telephone Company (“Relator”) and the DISH Defendants1 (together, the “Parties”) and

the arguments the Parties made on the record during the June 21, 2023, hearing in this matter, and

for good cause shown, it is hereby ORDERED:

       1.         With respect to Relator’s Requests for Production (“RFPs”) Nos. 45–47, which

concern DISH Defendants’ treatment of SNR Wireless LicenceCo, LLC (“SNR”) and Northstar

Wireless, LLC (“Northstar”) for tax and financial reporting purposes, DISH Defendants shall

produce responsive documents for the time period from February 1, 2014, to June 30, 2015, subject

to the following parameters:

            (a)      DISH Defendants shall provide Relator with the names of the employee or

                     employees at the company with primary responsibility for the company’s

                     accounting and tax treatment of SNR and Northstar during the February 1,



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      “DISH Defendants” refers to Defendants American AWS-3 Wireless I LLC, American
AWS-3 Wireless II LLC, American AWS-3 Wireless III LLC, DISH Wireless Holding LLC, Dish
Network Corp., Charles W. Ergen, and Cantey M. Ergen.
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                     2014, to June 30, 2015, time period. The DISH Defendants will search the files

                     of the Chief Financial Officer and one employee from the names provided for

                     documents potentially responsive to RFP Nos. 45–47. The Parties shall confer

                     regarding the potential addition of a third custodian, who shall be added to the

                     list of custodians whose files shall be searched if the DISH Defendants and

                     Relator both agree it is appropriate to do so. In no event shall the DISH

                     Defendants be required to search more than three custodians in connection with

                     these particular requests;

            (b)      The Parties shall confer and agree to reasonable search terms to be applied to

                     identify documents related to DISH’s analysis of whether it was the primary

                     beneficiary of Northstar or SNR for financial reporting purposes; DISH’s

                     analysis of whether it held financial control of Northstar or SNR for financial

                     reporting purposes; and DISH’s analysis of whether to include Northstar or

                     SNR in DISH’s consolidated financial statements (including treatment of

                     Northstar and SNR as variable interest entities); as well as DISH’s

                     communications with outside auditors about these topics.

       2.         With respect to Relator’s RFP Nos. 26 and 27, which concern DISH Defendants’

assessment of SNR’s and/or Northstar’s qualifications or eligibility for bidding credits as a “very

small business” under rules of the Federal Communications Commission (“FCC”), the DISH

Defendants and Relator shall exchange the search terms they each used to identify potentially

responsive materials. In the event Relator believes the search terms utilized by the DISH

Defendants were not sufficient to identify documents responsive to RFP Nos. 26 and 27, the Parties

shall meet and confer in person to discuss whether additional search terms should be applied by



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DISH Defendants to ensure that a reasonable search for materials potentially responsive to RFP

Nos. 26 and 27 have been or will be produced or logged as privileged. Relator has agreed to

withdraw RFP No. 25, and thus no response to this request is required from DISH Defendants.

       3.         With respect to the custodians to be searched by DISH Defendants, the Court

overrules DISH’s proportionality objection with respect to Rob Dravenstott. Regarding DISH

Defendants’ burden objection due to Mr. Dravenstott’s departure from the company and the

migration of his emails to an archived server, by June 30, 2023, DISH Defendants shall:

            (a)      Identify the two primary subordinates of Mr. Dravenstott who were involved in

                     developing software bidding tools that DISH Defendants employed in Auction

                     97 and developing simulations of the bidding and outcomes in the auction; and

            (b)      Provide Relator with a detailed estimate of the cost and time required to retrieve

                     Mr. Dravenstott’s documents from the archived server.

The Parties shall then meet and confer in person no later than July 14, 2023, about whether DISH

Defendants should include Mr. Dravenstott or his two primary subordinates as custodians whose

files should be searched for documents responsive to Relator’s RFPs, including whether the costs

should be borne by the DISH Defendants or Relator.

       4.         With respect to materials post-dating October 25, 2015, DISH Defendants shall be

required to search for and produce communications and documents responsive to Relator’s RFPs

within the following categories:

            (a)      DISH Defendants shall produce communications and documents from October

                     26, 2015, to June 30, 2018, reflecting (i) DISH Defendants’ business strategy

                     or plans for using any spectrum that SNR or Northstar obtained in Auction 97;

                     (ii) the use or non-use of SNR’s or Northstar’s spectrum; (iii) DISH



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                   Defendants’ financial projections regarding its use of any spectrum that SNR

                   or Northstar obtained in Auction 97; and (iv) the buildout of or commercial use

                   by DISH Defendants of SNR’s or Northstar’s spectrum;

           (b)     DISH Defendants shall produce all documents from June 1, 2021, to October

                   22, 2022, referring or relating to SNR’s or Northstar’s exercise of their put

                   rights;

           (c)     DISH Defendants shall produce communications from January 1, 2018, to June

                   30, 2018, in connection with the cure process that relate to (i) renegotiation of

                   SNR’s and Northstar’s put rights; or (ii) SNR’s or Northstar’s qualifications or

                   eligibility for a bidding credit as a “very small business” under FCC rules

                   (excluding draft or final agreements exchanged by the parties during the cure

                   process); and

           (d)     DISH Defendants shall produce documents from January 1, 2018, to June 30,

                   2018, referring or relating to any analyses of or opinions about DISH

                   Defendants’ accounting and tax treatment of SNR and Northstar generally or

                   the spectrum they obtained in Auction 97 specifically in light of the Defendants’

                   agreements that were renegotiated as part of the cure process.

For purpose of the searches described in items 4(a) and 4(c), DISH Defendants shall search the

following custodians: Charles Ergen, Tom Cullen, Mariam Sorond, Jason Kiser, Jeff Blum, Alison

Minea, and Ted Henderson. For purpose of the search described in item 4(b), DISH Defendants

shall provide Relator with the names of the senior managers with knowledge of and involvement

in SNR’s and Northstar’s exercise of their put rights, after which the Parties will agree on no more

than two custodians whose files DISH Defendants will search for potentially responsive



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documents. For purpose of the search described in item 4(d), DISH Defendants shall use the same

approach to which the Parties agree in connection with Item 1(a) above. DISH Defendants shall

provide a privilege log of any responsive post-October 2015 documents they withhold under a

claim of privilege. The Parties shall meet and confer in person regarding the means to be used to

minimize the burden of reviewing post-October 25, 2015, documents for privilege.

       5.     With respect to Relator’s Interrogatory No. 10, which concerns the identification

of communications between DISH Defendants and the SNR and/or Northstar Investors regarding

Auction 97 or AWS-3 Spectrum, DISH Defendants shall provide a supplemental response to this

Interrogatory providing the requested information, with the exception that they need not identify

communications that involve the exchange of draft agreements between Defendants or their

counsel on which SNR Investors and/or Northstar Investors may have been copied.

       SO ORDERED.

                                                                          Moxila A. Upadhyaya
Dated: July 6, 2023                                                       2023.07.06 11:09:03
                                                                          -04'00'
                                                    Moxila A. Upadhyaya
                                                    U.S. Magistrate Judge




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